Case 16-42937-pwb        Doc 15     Filed 12/22/16 Entered 12/22/16 14:55:10             Desc Main
                                    Document     Page 1 of 1


                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION
In Re:                                           )    Chapter 13
Helen Belinda Pullum aka Belinda Pullum          )    Case No. 16-42937-pwb
                                                 )    Judge Paul W. Bonapfel
                                                 )
                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

       Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned attorney enters this Notice
of Appearance on behalf of Nationstar Mortgage LLC, its successors or assigns (hereinafter
referred to as “Creditor”), a secured creditor in the above referenced case on real property
located at 249 Mac Johnson Road Northwest, Cartersville, GA 30121. Creditor, through counsel,
hereby requests that all notices to Debtor(s) or Creditors also be mailed in care of Creditor as
follows:
                              Shapiro Pendergast & Hasty, LLP
                              211 Perimeter Center Parkway, N.E., Suite 300
                              Atlanta, GA 30346


Dated _December 22, 2016_________
                                                      Shapiro Pendergast & Hasty, LLP


                                                     /s/ Lucretia L. Scruggs
                                                     Lucretia L. Scruggs
                                                     Georgia Bar No.317008
                                                     211 Perimeter Center Parkway, N.E.
                                                     Suite 300
                                                     Atlanta, GA 30346
                                                     Phone: 770-220-2535
                                                     Fax: 770-220-2665
